                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT WINCHESTER

UNITED STATES OF AMERICA                              )
                                                      )      Case No. 4:15-cr-18-TRM-SKL-5
v.                                                    )
                                                      )
DILLON CHAMPION                                       )


                             REPORT AND RECOMMENDATION

       Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on March 30, 2016.

At the hearing, defendant moved to withdraw his not guilty plea to Count One of the five-count

Indictment and entered a plea of guilty to the lesser included offense of the charge in Count One,

that is of conspiracy to distribute a mixture and substance containing a detectable amount of

marijuana, a Schedule I controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and

841(b)(1)(D) in exchange for the undertakings made by the government in the written plea

agreement. On the basis of the record made at the hearing, I find the defendant is fully capable and

competent to enter an informed plea; the plea is made knowingly and with full understanding of each

of the rights waived by defendant; the plea is made voluntarily and free from any force, threats, or

promises, apart from the promises in the plea agreement; the defendant understands the nature of

the charge and penalties provided by law; and the plea has a sufficient basis in fact.

       Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to Count

One of the Indictment be granted, his plea of guilty to the lesser included offense of the charge in

Count One of the Indictment, that is of conspiracy to distribute a mixture and substance containing

a detectable amount of marijuana, a Schedule I controlled substance, in violation of 21 U.S.C.

§§ 846, 841(a)(1), and 841(b)(1)(D) be accepted, the Court adjudicate defendant guilty of the lesser

included offense of the charge in Count One of the Indictment, that is of conspiracy to distribute a



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mixture and substance containing a detectable amount of marijuana, a Schedule I controlled

substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(D), and a decision on whether

to accept the plea agreement be deferred until sentencing. The parties agreed Defendant should

remain on bond pending sentencing. Therefore, I further RECOMMEND Defendant remain on

bond until sentencing in this matter. Acceptance of the plea, adjudication of guilt, acceptance of the

plea agreement, and imposition of sentence are specifically reserved for the district judge.


                                               s/ fâátÇ ^A _xx
                                               SUSAN K. LEE
                                               UNITED STATES MAGISTRATE JUDGE



                                      NOTICE TO PARTIES

         You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceedings
objected to, and must be filed and served no later than fourteen days after the plea hearing. Failure
to file objections within fourteen days constitutes a waiver of any further right to challenge the plea
of guilty in this matter. See 28 U.S.C. §636(b).




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